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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEW JERSEY



    UNITED STATES OF AMERICA,            CRIMINAL NUMBER 10-366(WHW)

         Plaintiff,                      ORDER

         V.


    LUIS REYES,

         Defendant.


         This matter having come before the Court on the Motion of

   Luis Reyes through counsel      (Paulette Pitt,     Esq.)    for a Voluntary

   Dismissal of the appeal filed on behalf of defendant,                Luis Reyes,

   pursuant to Federal Rule of Appellate Procedure 42(a),                and the

   United States Attorney’s Office        (Eric Kanefsky,      Esq.,    Assistant

   United States Attorney)      having consented to this Application;              and
   for good cause shown;

         IT IS,   therefore,   on this     /‘          day of      rii’u&iij,   2012,

        ORDERED that the Application of Defendant,             Luis Reyes,      for a

   Voluntary Dismissal of the appeal pursuant to Federal Rule
                                                              of
   Appellate Procedure 42(a)     is hereby granted;     and

        IT IS FURTHER ORDERED that the Appeal of Luis Reyes is

   hereby dismissed.



                                                                   H.    WALLS,

                                            U.S.D.J.
